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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

  Health Choice Group, LLC and
  Jaime Green, on behalf of the United States
  of America, et al.,                                   Civil Action No. 5:17-cv-126-RWS-CMC

                        Plaintiffs/Relators,

  v.

  Bayer Corporation; Amgen Inc.; Onyx
  Pharmaceuticals, Inc.; AmerisourceBergen
  Corporation; and Lash Group,

                        Defendants.


       DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY DISCOVERY

                                      I.         INTRODUCTION

          Discovery should be stayed in this case pending resolution of Defendants’ motion to

  dismiss, which will dispose of—or at the very least, significantly narrow—Relators’ claims.

  Good cause exists for a stay, as it will prevent needless expenses and will make discovery more

  efficient, should it be needed. Relators present no substantive reasons why a temporary stay will

  prejudice them or delay resolution of this case. To the contrary, a stay will conserve all parties’

  resources, avert early discovery disputes, and promote the speedy resolution of this matter.

                                           II.    ARGUMENT

          Relators do not dispute that the Court has “broad discretion and inherent power to stay

  discovery until preliminary questions that may dispose of the case are determined.” Fujita v.

  United States, 416 F. App’x 400, 402 (5th Cir. 2011) (quoting Petrus v. Bowen, 833 F.2d 581,

  583 (5th Cir. 1987)); see also Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d 266, 270 (5th Cir.

  2006) (“District courts have broad discretion in all discovery matters.”) (quotations and citation



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  omitted). Nor do they dispute that Local Rule CV-26 explicitly envisions that parties may seek

  an order staying discovery pending a ruling on a motion to dismiss. E.D. Tex. Local Rule CV-

  26(a). “Notably, discovery may be limited when disposition of a motion might preclude the need

  for discovery thus saving time and expense.” Tostado v. Citibank (S. Dakota), N.A., No. CIV.A.

  SA-09-CV-549-XR, 2009 WL 4774771, at *1 (W.D. Tex. Dec. 11, 2009) (citing Landry v. Air

  Line Pilots Ass’n Int’l AFL–CIO, 901 F.2d 404, 436 (5th Cir. 1990)) (emphasis added). In

  Tostada, the Court granted a stay of discovery pending a ruling on a motion to dismiss after

  defendant explained that “a stay of discovery will save the parties and the Court the unnecessary

  cost and inconvenience associated with discovery on claims ultimately dismissed.” Id. (internal

  quotations omitted).

         Here, good cause exists because a stay will prevent the waste of the parties’ and the

  Court’s resources and will cause no prejudice. As Defendants have shown, Relators’ First

  Amended Complaint (“FAC”) is exceedingly vague and broad in the activities, geographical

  locations, and timeframe it implicates, especially in light of the rigorous Rule 9(b) standard that

  it must meet. Importantly, the claims also point to conduct outside the limitations period, calling

  into question what actions are actually relevant to this litigation. In essence, the FAC does not

  sufficiently inform Defendants of the particular conduct at issue and thus does not allow them to

  adequately prepare for responding to discovery. The practical aspects of securing discovery

  from the five corporate defendants as to fraud claims require specific allegations—allegations

  that are absent from Relators’ amorphous claim that “[s]ince at least 2006,” “Defendants

  employed . . . three schemes across the nation.” Doc. 32, FAC ¶¶ 188, 190. As a matter of

  principle, discovery based on deficient and ambiguous claims cannot be tailored and reasonable.




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  Allowing such discovery to proceed prior to a ruling on the motion to dismiss will be costly,

  inefficient, and unwieldy for all parties involved.

         Relators illustrate this point by arguing that “any undue burden that does materialize may

  be avoided through discussions with Relators to narrow or amend Relators’ discovery requests.”

  See Doc. 53, Opp. to Mot. to Stay (“Opp.”) at 7. But a ruling adverse to Relators on any portion

  of the motion to dismiss will necessarily require them to re-tailor their requests. Burdening

  Defendants with discovery on topics that may be rendered irrelevant is not an efficient use of

  time and resources. Relators’ proposal will force Defendants to expend unnecessary resources to

  respond to the revised requests (in addition to the resources expended in conferring with Relators

  “to narrow or amend” their requests). Id. Relators fail to appreciate the burden at stake and the

  actual inquiry here, as illustrated by their argument (based on an inapposite case from outside

  this Circuit) that “[p]arties are always burdened when they engage in litigation.” Id. at 5.

         In addition, Relators go as far as to argue that the “discovery disputes” that the discovery

  requests may cause “can be raised with the court.” Id. at 7. Relators thus tacitly concede that

  early discovery during the pendency of the motion to dismiss will be fraught with disagreement

  as the parties attempt to clarify what is relevant in this lawsuit. Moreover, burdening the Court

  with discovery disputes is not an efficient use of judicial resources and will in no way promote

  the speedy resolution of this matter. It is also contrary to the emphasis the Local Rules place on

  parties’ “obligation to secure information without court intervention.” Local Rule CV-7(h).

         Unable to present substantive and relevant arguments on the “good cause” inquiry before

  the Court, Relators instead attempt to buttress their own claims, questioning the strength of the

  motion to dismiss and its ability to dispose of the entire matter. See Opp. at 8-9. But certainty as

  to the disposition of the entire case is not necessary to warrant a stay; instead, courts focus on




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  whether good cause exists and whether “disposition of a motion might preclude the need for

  discovery thus saving time and expense.” Tostado, 2009 WL 4774771, at *1 (emphasis added)

  (citing Landry, 901 F.2d at 436). Courts routinely enter such stays based on the burden to the

  parties, without delving into whether the pending motion will dispose of the entire case. See,

  e.g., Guajardo v. Martinez, No. 2:14-CV-450, 2015 WL 12831683, at *2 (S.D. Tex. Dec. 22,

  2015) (staying discovery pending ruling on motion to dismiss and noting that “[b]ecause

  Plaintiffs allege complex claims under civil RICO, Defendants’ concerns about the cost and

  inconvenience of discovery are reasonable”); Lowe v. Wellcare Health Plans, Inc., No. 3:11-CV-

  0009-L, 2011 WL 5869757, at *1 (N.D. Tex. Nov. 21, 2011) (concluding that defendant’s

  “motion to stay discovery pending resolution of its motion to dismiss and [plaintiff’s] motion to

  strike should be granted”); Tostado, 2009 WL 4774771, at *1.

         Finally, and unsurprisingly, Relators do not dispute that neither they nor the Government

  will be prejudiced by a stay. As in Tostado, Relators “will not suffer any prejudice from the

  temporary stay since the pending motion can be decided on the available information and . . . the

  motion is ripe for decision; thereby, preventing any delay in the litigation.” 2009 WL 4774771,

  at *1. Moreover, if the Court finds that Relators’ claims must be entirely dismissed or narrowed

  in some way, Relators will have ample time to propound well-tailored discovery requests and

  will be spared the needless expense of reworking their demands. And even if the Court were to

  deny the motion to dismiss, the delay associated with the start of discovery will be minimal, will

  still afford Relators sufficient time to obtain needed discovery, and will not delay the trial date.

                                        III.    CONCLUSION

         For the foregoing reasons, Defendants respectfully request that discovery be temporarily

  stayed pending resolution of Defendants’ motion to dismiss.




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  Dated: April 9, 2018              Respectfully submitted,

                                    /s/ Matthew J. O’Connor by permission Andrea
                                    Fair
                                    Matthew J. O’Connor (pro hac vice)
                                    Joshua N. DeBold (pro hac vice)
                                    Covington & Burling LLP - Washington
                                    One CityCenter
                                    850 Tenth Street, NW
                                    Washington, DC 20001-4956
                                    Telephone: (202) 662-5469
                                    Facsimile: (202) 662-6291
                                    Email: moconnor@cov.com
                                    Email: jdebold@cov.com

                                    T. John Ward, Jr.
                                    State Bar No. 00794818
                                    Claire Henry
                                    State Bar No. 24053063
                                    Andrea L. Fair
                                    Texas Bar No. 24078488
                                    WARD, SMITH & HILL, PLLC
                                    PO Box 1231
                                    Longview, Texas 75606-1231
                                    Telephone: (903) 757-6400
                                    Facsimile: (903) 757-2323
                                    Email: jw@wsfirm.com
                                    Email: claire@wsfirm.com
                                    Email: andrea@wsfirm.com

                                    ATTORNEYS FOR DEFENDANT
                                    BAYER CORPORATION

                                    /s/ John P. McDonald
                                    John P. McDonald
                                    State Bar No. 13549090
                                    jpmcdonald@lockelord.com
                                    C. Scott Jones
                                    Texas Bar No. 24012922
                                    sjones@lockelord.com
                                    W. Scott Hastings
                                    Texas Bar No. 24002241



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                                    shastings@lockelord.com
                                    LOCKE LORD LLP
                                    2200 Ross Avenue, Suite 2800
                                    Dallas, Texas 75201-6776
                                    Telephone: (214) 740-8000
                                    Facsimile: (214) 740-8800

                                    W. David Carter, TSB No. 03932780
                                    MERCY ✯ CARTER, L.L.P.
                                    1724 Galleria Oaks Drive
                                    Texarkana, Texas 75503
                                    (903) 794-9419 - Telephone
                                    (903) 794-1268 - Facsimile
                                    wdcarter@texarkanalawyers.com

                                    ATTORNEYS FOR AMERISOURCEBERGEN
                                    CORPORATION AND LASH GROUP

                                    /s/ C. Michael Moore
                                    C. Michael Moore
                                    State Bar No. 14323600
                                    Matthew T. Nickel
                                    Texas Bar No. 24056042
                                    Adam H. Pierson
                                    Texas Bar No. 24074897
                                    DLA Piper US LLP
                                    1717 Main Street, Suite 4600
                                    Dallas, Texas 75201
                                    Phone: (214) 743-4500
                                    Fax: (214) 743-4545
                                    c.michael.moore@dlapiper.com
                                    matt.nickel@dlapiper.com
                                    adam.pierson@dlapiper.com

                                    Lance Lee
                                    wlancelee@gmail.com
                                    5511 Plaza Drive
                                    Texarkana, Texas 75503
                                    Telephone: (903) 223-0276
                                    Facsimile: (903) 223-0210

                                    ATTORNEYS FOR DEFENDANTS AMGEN
                                    INC. AND ONYX PHARMACEUTICALS, INC.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was filed electronically in

  compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

  are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

  R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

  consented to electronic service were served with a true and correct copy of the foregoing by

  email on this the 9th day of April, 2018.



                                                      /s/ Andrea Fair




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